Case 3:12-cr-00003-DHB-BKE Document 817 Filed 01/16/15 Page 1 of 1



                   IN         THE I'NITED      STATES DISTRICT COT'RT FOR
                                         SOUTHERNDISTRfCT OE' GEORGIA
                                               DUBLIN DIVISION
                                                                                                     ffrifJ# /6 f# t;
U N ] T E D S T A T E SO E A M E R I C A

                                                                       cR 312-003

KEMO PAULDO



                                                         ORDER


          Defendant has filed                      a motion for          reduction           of sentence under

18 U.S.C.          S 3582(c) (2)                  on the      basis      that        Amendment 782 to                    the

UniLed States                  Sentencing              Guidel ines has revj sed the                         guidel i-nes

:nnl'r:ah'e            l -n    clrrrrr traff      i.:kinfl   of fe"rses -          F,ver thnrrrrh            Amardnent

782 became elfecrive                           on November 1,            2014, no defendant                     may be

released          on          the        basis      of    the        retroactive             amendment before

November L,2415.                         See U.S.S.c.        Amend. 788.              Thus/ Lhe Court will-

,.-.r^-+-L^        -     --,,i^,.,        ^f   crqae     jnrrnlrrinn       ^rrrn     rr^f     li   nlzinn     nfFon.^.


in due course.                      If    Defendant is          entitled       to a sentence r:eduction

as    a       resuft           of        amendments to           the      United            States          Sentencing

Guidelines,               the        Court       will    make such a               reduction           sua sponte.

Accordingly,                  Defendant's          motion        (doc. no. 813) is DEEERRED.l

          O R D E RE N T E R E Da t A u g u s t a , G e o r g i a ,          fi',s     /f, 66uy of January,

20L5.




                                                                       UNlTED ST            E S D ] S T R T JUDGE



          !
         The Cl-erk is dlrected                                 to     terminate            the    motion       for
administrative  purposes.
